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                                                             CERTIFICATE OF SERVICE


DEBTOR 1 NAME: JUDY HARRISON TILLERY-BUGGS                                                                    CASE NUMBER: 1704230
DEBTOR 2 NAME:
I       Robert J Wallace, Jr.       certify under penalty of perjury that I have served the attached document on the below
listed entities in the manner shown on 2/7/2018        :

Via Electronic Delivery:

LAW OFFICES OF JOHN T. ORCUTT,ATTN: JOSH HILLIN,6616-203 SIX FORKS ROAD,RALEIGH NC 27615

Via U.S. First Class Mail, or electronic service, if such interested party is an electronic filing user,
pursuant to Local Rule 5005-4(9)(b):

AMERI LOAN,ATTN: MANAGING AGENT2128 N 14TH ST,STE. 1 BOX 130,PONCA CITY OK 74601
BOICE WILLIS CLINIC,901 NORTH WINSTEAD AVENUE,PO BOX 7200,ROCKY MOUNT NC 27804-7200
CAPITAL BANK,ATTN: MANAGING AGENT,ONE CHURCH STREET,ROCKVILLE MD 20850
CAPITAL ONE,PO BOX 5253,CAROL STREAM IL 60197
CAPITAL ONE,PO BOX 71083,CHARLOTTE NC 28272
CAROLINA RADIOLOGY ASSOC., LLC,PO BOX 51030,MYRTLE BEACH SC 29579
CAROLINA RADIOLOGY CONSULTANTS,PO BOX 12156,NEWPORT NEWS VA 23612
CASH JAR,PO BOX 2822,MONROE WI 33102
DAMIENNE TILLERY,6862 HAWTHORNE STREET,HYATTSVILLE MD 20785
EMERGENCY COVERAGE CORP.,PO BOX 1123,MINNEAPOLIS MN 55440
FINANCIAL DATA SYSTEMS, LLC,PO BOX 688,WRIGHTSVILLE BEACH NC 28480
FINANCIAL DATA SYSTEMS,1638 MILITARY CUTOFF RD,WILMINGTON NC 28403
FIRST PREMIER BANK,PO BOX 5524,SIOUX FALLS SD 57117-5524
HAROLD & ASSOCIATES,ATTN: MANAGING AGENT,3769 SUNSET AVE,ROCKY MOUNT NC 27804
HCFS HEALTHCARE FINANCIAL SERVICES,ALCOA BILLING CENTER,3429 REGAL DR.,ALCOA TN 37701-3265
HRRG,ATTN: MANAGING AGENT,PO BOX 8486,POMPANO BEACH FL 33075
INTERNAL REVENUE SERVICE,ATTN: CORRESPONDENCE/INSOLVENCY 1,PO BOX 7346,PHILADELPHIA PA 19101-7346
INTERNAL REVENUE SERVICE,ATTN: MANAGER OR REG. AGENT,PO BOX 7317,PHILADELPHIA PA 19101-7317
JUDY HARRISON TILLERY-BUGGS,PO BOX 774,ROCKY MOUNT NC 27802
KEVIN B. WILSON,ATTORNEY AT LAW,PO BOX 24103,CHATTANOOGA TN 37422
NASH AMBULANCE SERVICE,PO BOX 2425,ROCKY MOUNT NC 27802
NASH UNC HEALTH CARE,2460 CURTIS ELLIS DRIVE,ROCKY MT NC 27804
NASH X RAY ASSOCIATES, PA,131 ROUNDABOUT COURT,PO BOX 7946,ROCKY MOUNT NC 27804-0946
NATIONAL MAGAZINE EXCHANGE,PO BOX 9083,CLEARWATER FL 33758-9083
NATIONWIDE RECOVERY SYSTEMS,545 INMAN STREET,CLEVELAND TN 37311
NATIONWIDE RECOVERY SYSTEMS,ATTN: BK DEPT.,PO BOX 702257,DALLAS TX 75370
NC DEPARTMENT OF REVENUE,ATTN: OFFICER,PO BOX 1168,RALEIGH NC 27602-1168
NC DEPARTMENT OF REVENUE,C/O NC DEPARTMENT OF JUSTICE,PO BOX 629,RALEIGH NC 27602-0629
NC INPATIENT MEDICINE,PO BOX 52007,ATLANTA GA 30355
NORTH CAROLINA IMPATIENT MED,PO BOX 96368,OKLAHOMA CITY OK 73143
NORTH SHORE AGENCY,PO BOX 9221,OLD BETHPAGE NY 11804
ONE CLICK CASH,52946 HWY 12 SUITE 3,NIOBRARA NE 68760
PENSIONS ANNUITIES & SETTLEMENT,ATTN: MANAGING AGENT,18300 VON KARMAN AVE,STE. 410 IRVINE CA 92612
PORTFOLIO RECOVERY ASSOCIATES, LLC,PO BOX 12914,NORFOLK VA 23541
RALEIGH MEDICAL GROUP,3521 HAWORTH DRIVE,RALEIGH NC 27609
RALEIGH MEDICAL GROUP,ATTN: MANAGING AGENT,PO BOX 18563,RALEIGH NC 27629
REGIONAL ACCEPTANCE CO,ATTN: MNG AGT,1514 WOODLAWN DR,BALTIMORE MD 21207
REGIONAL ACCEPTANCE CORPORATION,BB&T servicing account on behalf,BANKRUPTCY SECTION 100-50-01-51,PO BOX 1847 WILSON NC 27894
RJM ACQ LLC,575 UNDERHILL BLVD,STE 224,SYOSSET NY 11791

By Electronic Transmittal :
By Fax :

I certify that I have prepared the Certificate of Service and that it is a true and correct copy to the best of my knowledge, information
and belief.

Date :         2/7/2018                                Signature : ________________________________________
                                                                                Premium Graphics, Inc.
                                                                                2099 Thomas Road Suite 10
                                                                                Memphis, TN 38134
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                                               CERTIFICATE OF SERVICE
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DEBTOR 1 NAME: JUDY HARRISON TILLERY-BUGGS                                                                  CASE NUMBER: 1704230
DEBTOR 2 NAME:
I       Robert J Wallace, Jr.       certify under penalty of perjury that I have served the attached document on the below
listed entities in the manner shown on 2/7/2018        :

RJM ACQUISITIONS, LLC,PO BOX 12023,HAPPAUGE NY 11788-2023
ROCKY MOUNT FAMILY MED CENTER,804 ENGLISH RD, STE 100,ROCKY MOUNT NC 27804
SKO BRENNER AMERICAN, INC,POST OFFICE BOX 230,FARMINGDALE NY 11735-0230
SPRINT,WILLIAMSON & BROWN, LLC,4691 CLIFTON PARKWAY,HAMBURG NY 14075
ST. ARMANDS SERVICES LLC,PO BOX 411056,KANSAS CITY MO 64141
UNC HEALTH CARE,PATIENT FINANICAL SERVICES,200 EASTOWNE DRIVE,CHAPEL HILL NC 27514
VERIZON WIRELESS,PO BOX 26055,MINNEAPOLIS MI 55426-6255
WELLS FARGO CARD SERVICES,PO BOX 9210,DES MOINES IA 50306
WFB CD SVC,PO BOX 3696,PORTLAND OR 97208
WILSON MEDICAL CENTER,ATTN: MNG AGT,PO BOX 602562,CHARLOTTE NC 28260-2562




By Electronic Transmittal :
By Fax :

I certify that I have prepared the Certificate of Service and that it is a true and correct copy to the best of my knowledge, information
and belief.

Date :     2/7/2018                        Signature : ________________________________________
                                                                    Premium Graphics, Inc.
                                                                    2099 Thomas Road Suite 10
                                                                    Memphis, TN 38134
